Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 1 of
                                     14




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:21-cv-3440-WJM-KAS



  ERIC COOMER, Ph.D.,
  Plaintiff

  v.

  MAKE YOUR LIFE EPIC, LLC, dba THRIVETIME SHOW, REOPEN AMERICA LLC dba
  REAWAKEN AMERICA TOUR, and CLAYTON THOMAS CLARK, individually,
  Defendants


   JOSEPH OLTMANN’S REPLY TO PLAINTIFF’S RESPONSE TO THE OBJECTION
             TO SUBPOENA AND MOTION FOR PROTECTIVE ORDER
  ______________________________________________________________________

         Nonparty, Joseph Oltmann, through his attorneys, files this reply to Plaintiff’s

  Response to Nonparty Joseph Oltmann's Objection to Subpoena and Motion for

  Protective Order [“Plaintiff’s Response”], as follows:

  I.     Two Prior Depositions of Oltmann are Not Disputed by Plaintiff’s Response

         Plaintiffs Response states that Mr. Oltmann is his most relevant witness; but

  does not deny the fact that his attorneys have now deposed Mr. Oltmann personally on

  two occasions specifically related to Oltmann’s statements about Eric Coomer the Antifa

  call and Coomer’s internet/Facebook public profile.

         Denver District Court, State of Colorado called, Eric Coomer, Ph.D., v. Donald J.
         Trump for President, Inc., et al., 2020CV34319 [hereafter “DDC case”). Joseph
         Ottman is a defendant in the DDC case. Exhibit C, Deposition of Oltmann in the
         DDC case.

         Coomer v. Michael Lindell, Frankspeech LLC and My Pillow, U.S. District Court
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 2 of
                                     14




           (Dist. Colo.) 1:22-CV-01129-NYW-SKC [hereafter, “Lindell case”]. Joseph
           Oltmann was a nonparty in the Lindell case. Exhibit D, Deposition of Oltmann in
           the Lindell case.

  II.      Not Disputed Discovery

           Plaintiff’s Response focuses on characterizing the Subpoena to Testify at a

  Deposition in a Civil Action and Produce Documents [hereafter, “the Subpoena”]1 as a

  subpoena for additional deposition testimony and document production as solely

  focused on case-specific information from Mr. Oltmann.

           Notably, Mr. Oltmann is not disputing or seeking to quash the subpoena to the

  extent the deposition questions and the materials sought by plaintiff are solely in

  reference to the defendants in this case: 1) Make Your Life Epic, LLC, and its Thrivetime

  Show, 2) Reopen America LLC and its Reawaken America Tour, or 3) Clayton Thomas

  Clark, individually.2

  III.     However, clearly the Subpoena at issue is yet another (third) repeat attempt
           to obtain deposition testimony and/or documents on a broad scope of
           subjects that are not specific to the present case.

           A.       Statutorily, Coomer’s discovery in the Denver District Court Case of

  Coomer v. Trump et al. [“DDC”] case against Mr. Oltmann was technically supposed to

  be limited discovery as per the Anti-SLAPP statute. However, the court’s order of

  discovery was broad and encompassed the full elements of Plaintiff’s need to make a

  prima facie case of defamation against Oltmann, and therefore, was not actually limited.

  See Plaintiff’s Response, DDC Order, Exhibit 2, p.4 (“that Plaintiff is requesting


  1
    Exhibit A to Oltmann’s, Objection to Subpoena and Motion for Protective Order by Joseph Oltmann [hereafter,
  “the Subpoena”]
  2
    This is except to the extent that the Subpoena seeks to function as if it is a set of interrogatories with imposition of
  multiple instructions and definitions to provide written answers to questions.

                                                              2
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 3 of
                                     14




  discovery aimed at establishing Plaintiff’s prima facie case”). The DDC acknowledged

  the scope to be broadly,

         . . . the proposed written discovery and request for depositions [ ] generally
         aimed at establishing the actions of each Defendant with respect to their
         knowledge, their investigations, their communications and their states of
         mind. Further, the Court agrees with Plaintiff’s contention that the
         Defendants are the primary source of information regarding the actions they
         did take, or did not take, relative to whether they proceeded with actual
         malice or reckless disregard and whether some or all of the Defendants
         acted in concert.

  Plaintiff Response, Ex. 2, p.4-5. By way of written discovery in the DDC case, Coomer’s

  Requests for Production of Documents were permitted to request “[a]ll communications”

  of Oltmann with the multiple defendants and 6 nonparties. Id., p.6.

         The Request for Production of Documents from Coomer requested all

  “communications” by Mr. Oltmann about Coomer and Dominion voting systems

  including “[t]he person that assisted you in gaining access to the "Antifa call" and four

  (4) other non-parties from January 2020 to July 2021. See Exhibit E, DDC, Coomer’s

  Request for Production of Documents [hereafter “DDC discovery”].

         The DDC discovery also requested “[a]ll documents reflecting any investigation

  [Oltmann] made regarding allegations about Dr. Coomer.” Id. The DDC discovery also

  requested “all broadcast and publications of Joseph Oltmann, FEC United, and

  Shuffling Madness Media containing statements regarding Dr. Coomer.” Id.

         The deposition of Oltmann in the DDC case also included questions and

  testimony about the subject matters referenced by Plaintiff in the documents identified in

  the Subpoena of this case. See Exhibit C, deposition of Joseph Oltmann, subject to

  protective order [“DDC deposition”].

                                               3
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 4 of
                                     14




         In deposition in the DDC case Mr. Oltmann was asked specifically about

  providing the identity of the person that gave him access to the Antifa call. He refused

  to provide the identify of that person stating: “I made a commitment not to disclose the

  name of that person” but “[u]nfortunately, that person who is known to [him] is actually in

  [his] notes.” Exhibit C, Oltmann’s DDC deposition, page 11, line 13- page 12, line 15.

  Mr. Oltmann was specific about that his concerned was for the physical safety of this

  individual and that of his children because of the nature of Antifa. See Id., DDC

  Deposition, p.21,ll.22-p.23,l,1. Subsequently when questioned in deposition, Mr.

  Oltmann identified the initials located in his notes that belonged to the “the individual

  that gave [him] access to the call.” See Exhibit C, DDC deposition (subject to protective

  order) page 22, line 14. Mr. Oltmann further gave testimony about not being able to

  contact the individual. Id. pp.63-35.

         In addition, the DDC Deposition of Oltmann covered his testimony about the

  “notes of the Antifa call” that were taken by Mr. Oltmann and were already produced to

  Plaintiff Coomer by Mr. Oltmann and about which he was questioned during his

  deposition. See id., DDC deposition, pages 11 – page 24.

         In addition, the DDC deposition of Oltmann covered the discovery sought about

  how Mr. Oltmann obtained screenshots of Coomer’s private Facebook pages. Exhibit

  C, DDC deposition, pp.84,l.19 - p.85,l.22. It is true that Mr. Oltmann refused to provide

  names of these individuals because he was concerned for their safety in light of Mr.

  Coomer’s lack of control, ill tempered behavior, and desire to hurt those who speak

  against him; without an agreed attorney’s-eyes only stipulation for protection of those to


                                                4
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 5 of
                                     14




  be identified. See DDC Deposition, pp. 86,l.5-p.92,l.10. See also, DDC Deposition,

  p.97,l.16 – p.98,l.12.

             As a consequence, Plaintiff Coomer’s discovery in the DDC case was and is

  broad and inclusive, already covering some of the very same Requests for Production

  of Documents included in the Subpoena to Oltman in this case – specifically,

  paragraphs 1, 2 and 3 of the Subpoena.

             B.       Contrary to Comer’s representation that the Lindell subpoena3 focused

  only on facts specific to that case, Coomer made requests for similar general subject

  matter materials in the Lindell case as well, with the intent to depose and aske

  questions about the same subjects. In other words, not just seeking documents and

  deposition testimony specific only to the Lindell case.

             Plaintiff’s Response reflects that the Lindell subpoena’s Requests for Production

  of Documents reflect the same broad categories of documents sought in the Subpoena

  at issue in this case. See Plaintiff’s Response, Exhibit 10, p.13, Lindell subpoena, ¶6

  (re: documents of Coomer’s manipulation of 2020 election), ¶8 (November 11, 2020

  screenshot of Google search results), ¶9 (investigation of Georgia voting machines),

  ¶10 (notes re: “Antifa call”), ¶12 (all communications re: investigate Coomer), ¶14

  (communications re: person for access to Facebook account), ¶15 (communications re:

  persons for access to identities or Antifa call participants). These broad requests were

  not specific to the Lindell case and are subjects encompassed by the Subpoena served

  on Mr. Oltmann in this case.


  3
      in the U.S. District Court case of Coomer v. Lindell [“Lindell subpoena”]

                                                              5
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 6 of
                                     14




        C.      The Subpoena’s requests for production of documents in this case

  include some of the same general categories of requested documents that Coomer

  requested in the DDC case and in the Lindell case (the two cases in which he has

  already been deposed). Presumably, Coomer’s counsel will also be asking the same

  general categories of deposition questions relevant to the broad request for production

  of documents.

        The Subpoena’s request for documents at page 5, Request Nos. 1, 2, 3 and 7

  are repetitive requests for production. Specifically, when compared to the above

  discovery in the DDC case and the Lindell case, Coomer’s requests are duplicative of

  the discovery already proffered and completed by Coomer in the DDC case and the

  Lindell case. The Subpoena’s duplicative discovery requests are:

        1. All communications between September 1, 2020 and the present between
        you and the individual(s) you identified as “RD” who you have claimed provided
        you access to the alleged “Antifa call” including, but not limited to, all emails, text
        messages, and voice messages.

        2. All communications between June 1, 2020 and the present between you and
        the individual(s) who provided you access to Dr. Coomer’s private Facebook
        account.

        3. All contemporaneous evidence you collected at the time of the alleged “Antifa
        call” including, but not limited to, any audio recording of the call, any video
        recording of the call, any list of participants on the call, and any notes taken
        during or immediately after the call.
        ...
        7. Any notes you created for Randy Corporon providing information on the
        alleged “Antifa call,” as described in your December 16, 2022 sworn testimony in
        related proceeding Coomer v. Lindell, et. al., (see Exhibit 1, at 303:19-304:4)
        including, but not limited to, the notes you read from on CONSERVATIVE DAILY
        podcast on November 9, 2020.1

  IV.   Use of prior deposition of a witness pursuant to Rule 32 FRCP.


                                               6
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 7 of
                                     14




         Plaintiff’s Response fails to make a valid argument based on FRCP 32. The

  deposition of Oltman, who is not a party to this litigation, may be used pursuant to Rule

  32, as follows:

         (a) Using Depositions.
         ...
             (2) Impeachment and Other Uses. Any party may use a deposition to
             contradict or impeach the testimony given by the deponent as a witness,
             or for any other purpose allowed by the Federal Rules of Evidence.
             ...
             (4) Unavailable Witness. A party may use for any purpose the deposition
             of a witness, whether or not a party, if the court finds:
                 (A) that the witness is dead;
                 (B) that the witness is more than 100 miles from the place of hearing
                 or trial or is outside the United States, unless it appears that the
                 witness’s absence was procured by the party offering the deposition;
                 (C) that the witness cannot attend or testify because of age, illness,
                 infirmity, or imprisonment;
                 (D) that the party offering the deposition could not procure the
                 witness’s attendance by subpoena; or
                 (E) on motion and notice, that exceptional circumstances make it
                 desirable—in the interest of justice and with due regard to the
                 importance of live testimony in open court—to permit the deposition
                 to be used.

  USCS Fed. Rules Civ. Proc. R. 32 (2024). Contrary to Plaintiff’s Response, Rule

  32(a)(8) is not strictly construed.

         Significantly, "total identity of parties ... is not required," id., and the
         "same party" rule has "been construed liberally in light of the twin
         goals of fairness and efficiency.
         ...
         Thus, courts interpreting this rule "recognize that the real test should
         be whether the former testimony was given upon such an issue that
         the party-opponent in that case had the same interest and motive in
         his cross-examination that the present opponent now has." Id.
         (citing Wright, Miller & Marcus, Federal Practice and Procedure
         § 2150).

  Runge v. Stanley Fastening Sys., L.P., No. 4:09-cv-00130-TWP-WGH, 2011 U.S. Dist.


                                                  7
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 8 of
                                     14




  LEXIS 147924, at *7-*8 (S.D. Ind. Dec. 23, 2011).

         Plaintiff Coomer’s argument is premised upon only the idea of using the

  prior depositions as primary testimony in this case; as if Mr. Oltmann would not

  be called to testify if this case goes to trial. The argument is further disingenuous

  given that Coomer has no preclusion to the using the two prior Oltmann

  depositions for not only their discovery value on for the issues presently before

  the court. Also, there is no preclusion for Coomer to use the two prior

  depositions for impeachment purposes instead of primary/substantive testimony

  at trial. See Powertrain, Inc. v. Ma, 640 F. App'x 263, 264 (5th Cir. 2016). See

  also USCS Fed. Rules Evid. R. 804 and 807; USCS Fed. Rules Evid. R. 613

  (evidence of a witness’s prior inconsistent statement). This is assuming Plaintiff

  or another party would call Mr. Oltmann to testify at a trial in the present action,

  since Plaintiff Coomer is delineating him as a “central witness in this case.”

  V.     Plaintiff’s Subpoena Goes Beyond Seeking Discovery Specific to This Case

         Notably, Plaintiff’s Response beginning on page 7 argues that he wants to ask

  questions at deposition and seek production “specific” to “this dispute” in this case. Yet,

  he acknowledges wanting to go into (in order to understand what he does not already

  understand) the general subject matter of the Antifa call. Plaintiff’s Response does not

  deny he has already gone into that subject of discovery in the other cases. This is a

  tacit admission that he wants to go over the same ground again. Plaintiff’s Response

  vaguely suggests a justification for the Subpoena is because Oltmann’s claims have

  “evolved.”


                                                8
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 9 of
                                     14




         Coomer does not offer any explanation for why he should get yet a third “bite at

  the apple.” Instead, Coomer diverts to talk about “specificity” to the dispute in the

  present case. As already indicated, Oltmann is not opposing the Subpoena’s discovery

  specific to the dispute involved in the present case against just Reawaken, Make Life

  Epic and Clayton Clark. But Plaintiff’s Response does not agree to restrict the

  Subpoena’s scope to just about discovery related to the defendants in this case.

  Plaintiff’s Response does not define its reference (page 7) to a “substantial body of

  subject matter” which reasonably smacks of zero limitations to the scope of discovery

  by the Subpoena.

         Mr. Oltmann had not questioned Coomer counsel’s statement that Oltmann does

  not need to re-produce documents already produced to Coomer. But what Coomer

  refers to as an “accommodation” is not the requested definitive limitation on the “scope”

  of the Subpoena. Since Plaintiff’s Response leaves undefined what is meant by a

  “substantial body of subject matter.”

         The only documents that Oltmann has not produced pursuant to the previous

  discovery in the Lindell case and the DDC case, would be those documents, if any, and

  deposition testimony, if any, about matters related to Reawaken, Make Life Epic and

  Clayton Clark. Those are requests in the Subpoena (discussed in conferral and in the

  Motion for Protective Order) for which Oltmann is not seeking a protection order.

         The statement by Plaintiff’s Response that he does not have documents he has

  requested in past discovery is Coomer ignoring that he has asked in depositions if the

  documents being sought, exist, and been advise when they do not. See e.g., Exhibit C,


                                               9
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 10 of
                                      14




   DDC deposition, p,28,l.22 – p.29,l.3 (Oltmann stating he does not have access to Signal

   communications because Signal deletes after 5 minutes). Coomer has been told the

   documents do not exist. Id. (29, 21).

          In fact, paragraph no.7 of the Subpoena’s request for “notes” related to

   communication by Mr. Oltmann with Randy Corporon has already been a topic of

   deposition testimony, as evident from the Subpoena itself. The request is for a set of

   notes which are not the notes taken during the Antifa call (those are already in Plaintiff’s

   possession per the exhibit attached to the Plaintiff’s Response). Nonetheless, the

   subject has already been a part of deposition testimony in the Lindell case and Coomer

   has been advised (by prior counsel for Oltmann, Ingrid DeFranco) that the notes are

   privileged. See Exhibit D, Liddel deposition, p.308, ll.7-25 (affirming that the notes

   being talked about in ¶7 of the Subpoena are notes Oltmann included with his notes in

   conversation with his counsel at the time, Randy Corporon, and Oltmann’s recollection

   of the specific phrase being used). That section of the Liddell case deposition was not

   provided by Plaintiff’s Response.

          Besides, it is a tenuous argument as to the relevance of Oltmann’s program

   notes when he has testified the phrase -- "We have prepared for the new future where

   we put down these fascist F's," -- was based on his memory and not on the notes.

   Regardless, It is undersigned counsel’s understanding that Mr. Oltmann has looked for

   the notes requested by ¶7 of the Subpoena and has not been able to locate them.

   VI.    Conclusion

          Plaintiffs Response to Nonparty Oltmann's Objection to Subpoena and Motion for


                                                10
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 11 of
                                      14




   Protective Order does not justify burdening Mr. Oltmann with additional hours of

   deposition testimony covering matters already covered. Coomer has already had

   numerous litigation opportunities to burden Mr. Oltmann with attendance at depositions

   and written discovery production requests.

         The obvious reason is that Plaintiff’s Complaint against these defendants in this

   lawsuit against Make Your Life Epic, Reopen America LLC and Clayton Thomas Clark

   contains allegations that reference Mr. Oltmann but are not distinct in any manner from

   the allegations against Mr. Oltmann in the DDC case or in U.S. District Court case of

   Coomer v. Lindell.

         The allegations involving Oltmann in the Plaintiff’s Complaint in this case,

   compared to the Complaints by Plaintiff in these other lawsuits, show that they are not

   distinctly different – meaning, Plaintiff Coomer’s statement that he has “uniquely

   relevant” reasons to re-depose a non-party to this lawsuit is disingenuous.

         Coomer tries to make an argument in this matter out of the fact that Mr. Oltmann

   was sanctioned in the DDC case. However, the important reference in the Plaintiffs

   Response is the acknowledgement that plaintiff has already sought to obtain information

   about an individual who provided Mr. Oltman access to observe what is called the Antifa

   call and sought to obtain the name of individuals who provided Mr. Oltmann access to

   Mr. Coomer's Facebook account.

         Significantly, plaintiff is acknowledging the overlap and redundancy of the

   Subpoena for deposition and requests for production of documents by asking for the

   very same things. It appears that the purpose in making this request to the nonparty in


                                                11
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 12 of
                                      14




   this case is an attempt to have Mr. Oltmann sanctioned again, having nothing to do with

   any uniqueness specifically relevant to this U.S. District Court lawsuit. Coomer’s

   continued self-serving commentary referring to anything Mr. Oltmann has done or does

   to protect his legal interests and the rights of himself and others to safety and privacy as

   “bad faith efforts” reflects the real impetus behind the Subpoena is to attempt to obtain

   sanctions against Oltmann.

            There is little if any relevance in this case to the identification of the person who

   gave Mr. Oltmann access to the Antifa call. There is little if any relevance to the

   identification of the person who gave Mr. Oltmann access to the Facebook account.

   Besides, Coomer has already admitted the veracity of the information obtained in his

   Facebook account. Clearly, Coomer is seeking this information only in order to retaliate

   against that person. The same is true for Coomer’s wanting to retaliate against the

   person that gave Oltmann access to the Antifa call4.

            WHEREFORE, Joseph Oltmann respectfully renews his requests that this Court

   enter an Order of Protection, quashing Plaintiff’s subpoena in its entirety, protecting

   Joseph Oltmann from the need to attend the deposition and ordering that Joseph

   Oltmann does not have to produce or make arrangements to produce documents

   requested on February 22, 2024, or the currently scheduled deposition of March 6,

   2024, or at any later scheduled date. Mr. Oltmann requests his reasonable fees and



   4
     The pure mercenary purpose of retaliation is made evident because Coomer’s insistence is that the Antifa call
   never occurred or he was not on the call. Therefore, he has every other means of showing by evidence within his
   own control that he was not on such a call by producing his phone records, his internet provider/browser listings for
   the month of September 2020 on his computer, cell phone, tablet etc. or supplying alibi witnesses for the date and
   time. He is solely wanting to have power and potential of recriminations against the identified persons.

                                                            12
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 13 of
                                      14




   costs associated with this motion, and for such further relief that is deemed just and

   proper in the circumstance.

      Respectfully submitted this this 26th day of March 2024,




                                         s/ Mark A. Sares
                                         Mark A. Sares, #19070
                                         HARRIS, KARSTAEDT, JAMISON & POWERS, P.C.
                                         10333 E. Dry Creek Road, Suite 300
                                         Englewood, Colorado 80112
                                         Phone: 720-875-9140
                                         Fax:    720-875-9141
                                         msares@hkjp.com
                                         ATTORNEYS FOR NON-PARTY JOSEPH
                                         OLTMAN




                                               13
Case No. 1:21-cv-03440-WJM-KAS Document 122 filed 03/26/24 USDC Colorado pg 14 of
                                      14




                                  CERTIFICATE OF SERVICE

      I certify that on this 26th day of March 2024, I electronically served Reply to Plaintiff’s
   Response to Objection to Subpoena and Motion for Protective Order by Joseph
   Oltmann and sent a copy to the following individuals’ email addresses:
    Brad Kloewer, Esquire                   (X) by CM/ECF System
    Charlie Cain, Esquire                   ( ) by First Class U.S. Mail
    Steve Skarnulis, Esquire                ( ) by designated email to: bkloewer@cstrial.com
    Zachary H. Bowman, Esquire                                           ccain@cstrial.com
    David E. Jennings, Esquire                                           skarnulis@cstrial.com
    Cain and Skarnulis, PPLC                                             zbowman@cstrial.com
    P.O. Box 1064                                                        djennings@cstrial.com
    Salida, Colorado 81201
    Telephone: (719) 530-3011
    Attorneys for Plaintiff
    Thomas J. Rogers, III, Esquire          (X) by CM/ECF System
    Mark Grueskin, Esquire                  ( ) by First Class U.S. Mail
    RechtKornfeld PC                        ( ) by designated email to: trey@rklawpc.com
    1600 Stout Street, Suite 1400                                        mark@rklawpc.com
    Denver, Colorado 80202                  ( ) By Facsimile Transmission to ___________
    Telephone: (303) 573-1900
    Attorneys for Plaintiff
    Thomas Baker Quinn, Esquire             (X) by CM/ECF System
    Gordon & Rees LLP                       ( ) by First Class U.S. Mail
    555 17th Street, Suite 3400             ( ) by designated email to tquinn@gordonrees.com
    Denver, CO 80202                        ( ) By Facsimile Transmission to 303-534-5161
    303-534-5160
    Attorneys for Defendant Make Your
    Life Epic, LLC
    Melissa Ann Wiese, Esquire              (X) by CM/ECF System
    Gordon Rees Scully Mansukhani LLP       ( ) by First Class U.S. Mail
    555 17th Street, Suite 3400             ( ) by designated email to: mwiese@grsm.com; 8
    Denver, CO 80202                        ( ) By Facsimile Transmission to ___________
    303-200-6879
    Attorneys for Defendant Make Your
    Life Epic, LLC
                                            Original signature on file at the offices of
                                            Harris, Karstaedt, Jamison & Powers, P.C.

                                            s/ Mark A. Sares




                                                 14
